                                                                                                                        FILED IN THE
            Case 2:14-cr-00134-WFN                        ECF No. 415           filed 03/29/16         PageID.1696 Page    1 of 6
                                                                                                                    U.S. DISTRICT COURT
                                                                                                                       EASTERN DISTRICT OF WASHINGTON


 SAO 2458 (Rev. 09/l l) Judgment in a Criminal Case
               Sheet   I   Revised by WAED - 02/16
                                                                                                                        Mar 29, 2016
                                                                                                                             SEAN F. MCAVOY, CLERK


                                              UNITBo Srarps DISTruCT COURT
                                                     Eastern District of Washington
           UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                 v.
                                                                          Case Number: 2:14CR00134-WFN-7
     CHRISTOPHER JOHN-HANDKA TEUSCI{ER
                                                                          USM Number: 17561-085
                           a/k/a Big Chris
                                                                                Nicolas V. Vieth
                                                                          Defendant's Attomey




 E
 THE DEFENDANT:
 (pleadea guilty to count(s) 2 of the Superseding Indictrnent
 D pleaded nolo contendere to count(s)
    which was accepted by the court.
 n was found guilty on count(s)
    after a plea of not guilty.

 The defendant is adjudicated guilty ofthese offenses:

 Title & Section                      Nature of Offense                                                                 Offense Bnded         Count
2l U.S.C. $$ 8al(aXl),             Conspiracy to Distribute 500 Grams of More of a Mixture of Substance Containin 03106114                      2S
    (b)(l(A)(viii) & 846              a Detectable Amount of Methamphetamine




        The defendant is sentenced as provided in pages 2 through                            of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.

 E the defendant has been found not guilty on count(s)
 dCount(s) 5 of the Superseding Indictment t *                       E are dismissed on the motion of the United States.
           It is ordered that the defendant mrst notifu the United States attomev for this district within 30 days of any change of name, residence,
 or nrailing address until all fines. restitution, costs,'and special assessments iriposed by this judgment are fully paid. If ordered to pay restitution,
 the defen-dant must notifo the court and United States attomey of material changes in economic circumstances.

                                                              3/22/2016
                                                            Date of Imposition of Judgment




                                                            Signature ofJudge




                                                             The Hon. Wm. Fremming Nielsen              Senior Judge, U.S. District Court
                                                            Name and Title of Judge




                                                             -
                                                             Date
                                                                                  ztzZ/:
             Case 2:14-cr-00134-WFN                 ECF No. 415           filed 03/29/16         PageID.1697 Page 2 of 6

AO   2458 (Rev. 09/l l) Judgment in Criminal Case
          Sheet 2
                  - Imprisonment
                                                                                                     Judgment       Page       of
                                                                                                                -
DEFENDANT: CURTSTOpHER JOHN-HANDKA TEUSCT{ER
CASE NUMBER: 2:14CR00134-WFN-7


                                                           IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:    84 Months

          With credit for any time served.




     {    fn"court makes the following recommendations to the Bureau of Prisons:

          That Defendant be designated to Sheridan, Oregon facility as well as be allowed to participate in the 500 hour residential drug
 treatrnent progfilm.



     d    fn"defendant is remanded to the custody of the United States Marshal.

     tr The defendant shall surrender to the United States Marshal for this district:
        trat                                   tr a.m. E p.m. on
        tr as notified by the United States Marshal.
     tr The defendant shall surrender for service ofsentence at the institution designated by the Bureau ofPrisons:
        n before 2 p.m. on
        tr as notified by the United States Marshal.
        tr as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
I have executed this judgment as follows:




          Defendant delivered on

                                                      with a certified copy of this judgment.



                                                                                                   I.JNITED STATES MARSHAL



                                                                         By
                                                                                                DEPUry UMTED STATES MARSHAL
                 Case 2:14-cr-00134-WFN                  ECF No. 415           filed 03/29/16         PageID.1698 Page 3 of 6

AO   245B (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3
                  - Supervised Release
                                                                                                             Judgment--Page
                                                                                                                                     3   of
                                                                                                                                                 6
DEFENDANT: CHRISTOPHER JOHN-HANDKA TEUSCHER
CASE NUMBER: 2:14CR00134-WFN-7
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :              8 Years


            The defendant must reDort to the orobation office in the district to which the defendant is released within 72 hours of releasefrom the
custody ofthe Bureau ofPrisoris.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfullv Dossess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
;f6t   ;4.-Tii;a;h;a;xrilhitt-i:utinit to od; druE 6;t wittrin i5 aayiof release from imprisonment anil at least nvo periodic drug tests
thereafter, as determined by the court.

n       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicabk.)

 (       The defendant shall not possess a frearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

 V The defendant shall cooperate in the collection of DNA as directed by the probation officer.            (Check, if applicable.)


         The defendant shall comply with the requirements of the Sex Offender Regis@tign and.Notification Act (42.q.p.p. $ 16901, !t,seq.)
 tr      as directed by the probatioir officer, the Bureau of Prisons, or any state sex off-ender regrsffatlon agency m whlch he or sne resloes,
         works, is a studenf, or was convicted of a qualifuing offense. (check, if applicable.)

 n       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

         If this iudement imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Pafme-nts sheetbf this judgment.
            The defendantmustcomplywith the standard conditions that have been adopted by this court as well as with any additionalconditions
 on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
      l) the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4) the defendant shall support his or her dependents and meet other family responsibilities;
      5)
       ' the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
      6) the defendant shall notiS the probation officer at least ten days prior to any change in residence or employment;
      7) the defendant shall refrain from excessive use of alcohol;
      8) the defendant shall not purchase, possess, use, distribute or administer any controlled substance or paraphemalia related to
           any conffolled susbstanies, except as prescribed by a physician. Use, acquisition, or possession of marijuana with or without a
           physician's prescripion is prohibited;

      9) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     l0)' the defendant shall not associate with any persons engaged incriminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do s-oby the probation officer;
     I l) the defendant shall permit a probation officer to visit himor her at any time at home or elsewhere and shall permit confiscation of any
        '  conffaband observed in plairi view of the probation    officer;
     12) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      ' the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
     13)
           permission of the court; and
     t-) as directed bv the orobation officer. the defendant shall noti& third
     14)                                                                           parties of risks that ryay be-occaslone.d by the defendant's. criminal
         E#;;;.1rJ,iifiii]tiJri"i,i .'iiiriit.rilrt'iii-uiia Ji,iifp-eimlT'ttr" piobition offrcer to make such notificationS and to confirmthe
           defendantr s compliance ivith such notifi cation require-ment.
           Case 2:14-cr-00134-WFN                       ECF No. 415   filed 03/29/16         PageID.1699 Page 4 of 6
AO 2458     (Rev. 09/l l) Judgment in a Criminal Case
            Sheet 3C      Supervised Release
                     -
DEFENDANT: CHRISToPHER JoHN.HANDKA TEUSCHER
CASE NUMBER: 2: 14CR00134-WFN-7

                                           SPECIAL CONDITIONS OF SUPERVISION

 15) You shall abstain from alcohol and shall submit to testing (including urinalysis and Breathalyzer) as directed by the supervising
 officer, but no more than 6 tests per month, in order to confirm continued abstineace from this substance.

 16) You shall abstain from the use of illegal controlled substances, and shall submit to urinalysis testing (which may include urinalysis
 or sweat patch), as directed by the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence
 from these substances.

 17) You shall not enter into or remain in any establishment where alcohol is the primary item of sale.

 I 8) You shall undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
 successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare. You
 shall contribute to the cost of treafinent according to your ability to pay. You shall allow full reciprocal disclosure between the
 supervising officer and treatment provider.

 19) You shall submit your person, residence, office, or vehicle to a search, conducted by a probation officer, at a sensible time and
 manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision. Failure to submit to
 search may be grounds for revocation. You shall warn persons with whom you share a residence that the premises may be subject to
 search.
            Case 2:14-cr-00134-WFN                   ECF No. 415           filed 03/29/16         PageID.1700 Page 5 of 6
AO   2458 (Rev. 09/11) Judgment in a Criminal Case
          Sheet 5
                  - Criminal Monetarv Penalties
                                                                                                     Judgment- Page
DEFENDANT: CTTRIsT9PHER J9HN-HANDKA TEUSCHER
CASE NUMBER: 2: I4CROOI34-WFN.7
                                               CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                                     Fine                                 Restitution
TOTALS                  $100.00                                         $0.00                               $0.00



tr The determination of restitution is deferred until                An Amended Judgment in a Criminal Case (AO 245C) will be entered
      aft er such determination.


tr The defendant must make restitution (including community restitution) to the following payeos in the amount listed below.
      If the defendant makes a partial Davment. each pavee shall receive an aooroximatelv proportioned payment, unless specified otherwise in
      the priority order or perc.bntagg irayment colunin below. However, pui3uant to I 8U.S.C. $ 3664G), all nohfederal victims must be paid
      befrire the-United Stdtes is paTd.' '

Name of Payee                                                           }1!r!-Loss]- notitrUooO"A"*A prhtty""p""*"t"g._




TOTALS                                                        0.00                                  0.00



 tr     Restitution amount ordered pursuant to plea agreement $

 u      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in fulI before the
        fifteenth day after the date of the judgment, pursuant to l8 U.S.C. $ 3612(0. All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to l8 U.S.C. $ 3612(g).

 tr     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        I the interest requirement is waived for the I fine I restitution.
        n the interest requirement for the tr fine I restitution is modified as follows:

 * Findings forthe total arDunt of losses are required underChapters 109A, I10, I l0A, and I l3A of Title l8 for offenses committed on or after
 Septemb-er 13,1994, but before Apri123,1996.
            Case 2:14-cr-00134-WFN                    ECF No. 415            filed 03/29/16          PageID.1701 Page 6 of 6
AO   2458 (Rev. 09/l l) Judgment in a Criminal Case
                  - Schedule of Payments
          Sheet 6

                                                                                                             Judgrnent- Page           of
DEFENDANT: CTTRISIOPHER JOHN-HANDKA TEUSCIIER
CASE NUMBER: 2: I4CR00I34-WFN-7


                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A n Lump sum payment of $                                       due immediately, balance due


             !      not laterthan
             tr     in accordance         NC, ND, tr 'ofE, or I F below; or
B       (    Payment to begin immediately (may be combined         with n C,            flD, or      (f belowl; or
C       n Payment in equal                           (e.g., weekly, monthly, quarterly) installments of  $                      over a period of
                                                        commence
                             (e.g., months or yeaf,s), to                          (e.g., 30 or 60 days) after the date of this judgment; or

D tr         Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                          (e .g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
             term ofsupervision; or

E tr Payment during the term of supervised release will commence within                                  (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F (          Special instructions regarding the payment of criminal monetary penalties:


        Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
        penalties are payable on a quarterly basis ofnot less than $25.00 per quarter.

        While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or l0% of the
        Defendant's net household income, whichever is larger, commencing 30 days after the Defendant is released from imprisonment.


Unless the court has exoresslv ordered otherwise. if this iudsment imooses imorisonment. Dayment of criminal monetary penalties is due
durins imprisonment. All criminal monetarv nenalties. dxcJot those'oavmenis made throueh the Federal Bureau of Prisons' Inmate Financial
                                                             uhtit mondtaiy penalties are paiilin tull: clerk, U.S. District court, Attention:
ffiX";U,Bi8?#lq1fri$Jt#i,fl,,X"rfjf,"ryin6address
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

tr      Joint and Several

        Case Numbers (including defendant number) and Defendant and Co-Defendant Names, Total Amount, Joint and Several Amount,
        and corresponding payee, if appropriate.




n       The defendant shall pay the cost ofprosecution.

tr      The defendant shall pay the following court cost(s):

D       The defendant shall forfeit the defendant's interest in the following properly to the United States:




Payments shall be applied in the followinq order: (l ) assessment. (2) restitution principal, (3) restitution interest, (4) fine principal,
(5f fine interest, (6) community restitutioi-, (7) penalties, and (8) cbdts, includin[ cost bf prosecution and court costs.
